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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

TWIN CITY FIRE INSURANCE CO.,                     §
             Plaintiff,                           §
                                                  §
v.                                                §           CIVIL ACTION NO. H-16-666
                                                  §
OCEANEERING INTERNATIONAL,                        §
INC., et al.,                                     §
              Defendants.                         §


                               MEMORANDUM OPINION & ORDER

       Pending before the court is the Magistrate Judge’s Memorandum and Recommendation (the

“M&R”) (Dkt. 40) recommending that the plaintiff’s motion for summary judgment (Dkt. 24) be

granted and that the defendants’ motion for judgment on the pleadings (Dkt. 26) be denied. Having

considered the motions, related briefing, and exhibits (Dkts. 24, 26, 28-32, 34-35, 38), the M&R

(Dkt. 40), defendants’ objections (Dkt. 41), plaintiff’s response to defendants’ objections (Dkt. 42),

as well as other relevant materials in the record, the court is of the opinion that defendants’

objections should be OVERRULED and the M&R should be ADOPTED IN FULL.

                                         I. BACKGROUND

       Oceaneering International Inc. ("Oceaneering") purchased a directors and officers defense

policy (“D&O policy”) from the plaintiff. Dkt. 24-2, Ex. A-1. The policy covered, among others,

Oceaneering’s directors and officers as insured persons. Id. In June 2014, an Oceaneering

shareholder filed a derivative action on behalf of Oceaneering against the current directors and one

former director for granting themselves excess compensation. Dkt. 24-2, Ex. A-3. Oceaneering filed

a claim for coverage of the derivative action under the D&O policy, which, reserving rights, the

plaintiff agreed to cover with regard to defense costs only. Dkt. 24-2, Ex. A-2, Ex. A-5. The
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plaintiff in the derivative action made a settlement demand that consisted mostly of disgorgement

of the alleged excess compensation, and the defendants to that suit made a settlement counteroffer.

Dkt. 28-1, Ex. B-2, Ex. B-3. The plaintiff here then filed suit, seeking a declaration that it does not

owe indemnity coverage under the D&O policy for any settlement reached in the derivative action.

Dkt. 1.

          The Magistrate Judge treated the defendants’ motion for judgment on the pleadings as a

motion for summary judgment pursuant to Federal Rule of Civil Procedure 12(d). Dkt. 40 at 9-10.

Regarding the coverage dispute, the Magistrate Judge decided that any part of the settlement that

covered disgorgement of excess compensation did not constitute a covered loss under the policy.

Id. at 17. The Magistrate Judge refrained from determining what portion of the proposed settlement

is in the nature of disgorgement. Id. at 21.

                                       II. LEGAL STANDARD

A.        Magistrate Judge

          For dispositive matters, the court “determine(s) de novo any part of the magistrate judge’s

disposition that has been properly objected to.” See Fed. R. Civ. P. 72(b)(3). “The district judge

may accept, reject, or modify the recommended disposition; receive further evidence; or return the

matter to the magistrate judge with instructions.” Id. “When no timely objection is filed, the court

need only satisfy itself that there is no clear error on the face of the record in order to accept the

recommendation.” Fed. R. Civ. P. 72(b), Advisory Comm. Note (1983). For non-dispositive

matters, the court may set aside the magistrate judge’s order only to the extent that it is “clearly

erroneous or contrary to law.” Fed. R. Civ. P. 72(a).




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B.     Motion for Summary Judgment

       A court shall grant summary judgment when a “movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

Civ. P. 56(c). “[A] fact is genuinely in dispute only if a reasonable jury could return a verdict for

the non-moving party.” Fordoche, Inc. v. Texaco, Inc., 463 F.3d 388, 392 (5th Cir. 2006). The

moving party bears the initial burden of demonstrating the absence of genuine issue of material fact.

Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S. Ct. 2548, 2552 (1986). If the party meets its

burden, the burden shifts to the non-moving party to set forth specific facts showing a genuine issue

for trial. Fed. R. Civ. P. 56(e). The court must view the evidence in the light most favorable to the

non-movant and draw all justifiable inferences in favor of the non-movant. Envtl. Conservation Org.

v. City of Dall., Tex., 529 F.3d 519, 524 (5th Cir. 2008).

                                         II. OBJECTIONS

       The defendants filed objections to the M&R (Dkt. 41). In summary, the defendants contend

that the Magistrate Judge incorrectly concluded that payments in the nature of disgorgement are

uninsurable as a matter of law, misapplied and improperly extended In re TransTexas Gas

Corporation, 597 F.3d 298, 309 (5th Cir. 2010), and failed to interpret the D&O policy as a whole

in determining that the exception to the “personal profit” exclusion did not restore coverage . Dkt.

41. These are all arguments considered and discussed by the Magistrate Judge in the M&R, and the

court reviewed the Magistrate Judge’s rationale and conclusions as expressed in the M&R de novo

and ADOPTS them in full.




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                                     III. CONCLUSION

       The defendants’ objections (Dkt. 41) are OVERRULED, and the M&R (Dkt. 40) is hereby

ADOPTED IN FULL. The plaintiff’s motion for summary judgment (Dkt. 24) is GRANTED and

defendants’ motion for judgment on the pleadings (Dkt. 26) is DENIED.

       Signed at Houston, Texas on March 29, 2017.




                                                            Gray H. Miller
                                                      United States District Judge




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